           Case 6:20-cv-00373-LSC Document 44 Filed 08/17/21 Page 1 of 4             FILED
                                                                            2021 Aug-17 PM 01:27
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                          JASPER DIVISION

SELECT PORTFOLIO SERVICING,                 §
INC.,                                       §
                                            §
      Plaintiff,                            §     Case No.
v.                                          §     6:20-CV-00373-LSC
                                            §
UNITED STATES OF AMERICA,                   §
JAYAKRISHNA GUNDAVELLI,                     §
and JENNIFER DAWN BURLESON                  §
BATCHELOR,                                  §
                                            §
      Defendants.                           §

                    PLAINTIFF’S MOTION TO DISMISS
                 (WITH CONSENT OF TWO DEFENDANTS)

      COMES NOW Plaintiff Select Portfolio Servicing, Inc. (“SPS”), by and

through counsel, and moves the Court to enter a dismissal of this action

pursuant to Rule 41(a)(2). This motion is filed with consent of Defendants

United States, on behalf of the Internal Revenue Service (“IRS”), and

Jayakrishna Gundavelli.        Counsel for SPS and the United States have

contacted counsel for Defendant Jennifer Batchelor on multiple occasions to

obtain consent but have not received any response. As further grounds

therefor, SPS states as follows:

      1.       The transaction that forms the basis of this action is an IRS tax

lien affecting property situated in Winston County, Alabama in which SPS

holds a security interest; to-wit: that property more specifically identified in


                                                                               1
            Case 6:20-cv-00373-LSC Document 44 Filed 08/17/21 Page 2 of 4




the Second Amended Complaint and commonly referred to as 100 Smith

Drive, Haleyville, Alabama (the “Property”). Defendants Gundavelli and

Batchelor were named as necessary party defendants because they either

presently possess an interest in the Property or possessed an interest in the

Property at the time SPS’ security interest was created and the IRS tax lien

was recorded.

       2.       SPS and the United States have reached a settlement that

resolves all matters at issue in this action. Specifically, SPS has paid to the

United States an agreed-upon sum to discharge the IRS lien upon the

Property only.

       3.       The terms of the settlement between SPS and the United States

does not affect any legal or property right of Defendant Gundavelli, except

to the extent that his ownership interest in the Property will no longer be

encumbered by the IRS tax lien.

       4.       The terms of the settlement between SPS and the United States

does not affect and legal or property right of Defendant Batchelor, except

to the extent her unpaid tax liability may be possibly reduced by some

amount as a result of the payment to the United States by SPS to obtain a

release of the tax lien upon the Property1. Any rights the IRS might possess



1
 Any possible reduction in Defendant Batchelor’s tax liability resulting from the settlement
between SPS and the United States is strictly a matter between the IRS and Defendant Batchelor.

                                                                                             2
            Case 6:20-cv-00373-LSC Document 44 Filed 08/17/21 Page 3 of 4




as to any real or personal property of Defendant Batchelor for her unpaid tax

liability remains unaffected by the terms of this settlement.

       5.       The United States and Defendant Gundavelli have consented to

the dismissal of this action. Both SPS and the United States have attempted

on multiple occasions to obtain the consent of Defendant Batchelor’s

attorney but have not received any response.

       6.       Plaintiff no longer desires to prosecute this action now that the

central dispute has been resolved.

       7.       There have been no counterclaims asserted in this action.



       WHEREFORE, the above premises considered, SPS requests that an

order of dismissal be entered, with prejudice, costs taxed as paid.




                                           /s/ Amelia K. Steindorff
                                           Amelia K. Steindorff

                                           /s/ Gilbert C. Steindorff IV
                                           Gilbert C. Steindorff IV

                                           Attorneys for Plaintiff
                                           Select Portfolio Servicing, Inc.




SPS makes no representation whatsoever, nor possesses authority to make any representation, as
to whether the unpaid tax liability will be reduced at all or, if so, to what extent.

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       Case 6:20-cv-00373-LSC Document 44 Filed 08/17/21 Page 4 of 4




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                       CERTIFICATE OF SERVICE

     I certify that on this 17th day of August, 2021, I caused a true and

correct copy of this Amended Complaint upon all parties by filing same with

the CM/ECF system, which will deliver automatic notice of the filing to all

parties through their counsel of record.




                                           /s/ Gilbert C. Steindorff IV
                                           OF COUNSEL




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